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              IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                        NO. 4:05CR00305-007 SWW

CHRISTOPHER STEPHEN BRUCKS



                                   ORDER

      The above defendant appeared before the Court on August 10, 2006,

to enter a guilty plea, and the Court found that he should be detained,

and defendant was taken into custody. The government now has advised the

Court that it no longer is requesting defendant’s detention at this time.

      IT IS THEREFORE ORDERED that defendant be, and he hereby is,

released from custody immediately.

      Defendant is reminded that he shall abide by all conditions of

release as set forth in the previous order setting his conditions of

release except that his conditions of release are modified to terminate

the condition of home detention with electronic monitoring.

      IT IS SO ORDERED this 11th day of August, 2006.



                                           /s/Susan Webber Wright

                                           UNITED STATES DISTRICT JUDGE
